              Case 4:22-cr-00109-BSM Document 3 Filed 04/05/22 Page 1 of 3
                                                                     u
                                                                 EAsrc;;,Po'S,]TRICT
                                                                                              FllIEK~
                                                                                                   ctuo-
                                                                                                ~ - RICT            1
                                                                                                           ·A~,,; .~
                                                                                                             K,V\r-  .1 s.4 s
                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS                                      R O5 2022
                                                                                      TAMri
                                    CENTRAL DIVISION                            By·
                                                                                   ·--.
UNITED STATES OF AMERICA                       )         No. 4:22CR    CO~        ~S,N\
                                               )
V.                                             )         21   U .S.C. §§ 841(a)(l), (b)(l)(D)
                                               )         18   U.S.C. § 924(c)(l)(A)
DEANDREIAN DEVONTE MEADOWS                     )         18   U .S.C. § 922(n)
    ~~a FATHEAD                                )         18   U.S.C. § 924(a)(l)(D)

                                          INDICTMENT

THE GRAND JURY CHARGES THAT:

                                             COUNTl

        On or about October 10, 2021 , in the Eastern District of Arkansas, the defendant,

                             DEANDREIAN DEVONTE MEADOWS ,
                                     ~~a FATHEAD


knowingly and intentionally possessed with intent to distribute marijuana, a Schedule I controlled

substance, in violation of Title 21 , United States Code, Sections 841(a)(l) and 841(b)(l)(D).

                                             COUNT2

       On or about October 10, 2021 , in the Eastern District of Arkansas, the defendant,

                             DEANDREIAN DEVONTE MEADOWS,
                                     ~~a FATHEAD,


knowingly and intentionally possessed one or more of the following firearms:

       1.        a Romarm/Cugir, 7.62 caliber rifle, bearing serial number 21PF-8553 , and

       2.       an Anderson, AR-15 , bearing serial number 21001398

in furtherance of a drug trafficking crime prosecutable in a court of the United States, that is a:

violation of Title 21 , United States Code, Section 841(a)(l), as set forth in Count 1 of this

Indictment.

       All in violation of Title 18, United States Code, Section 924(c)(l)(A).



                                                     1


                                                                                                                                3
           Case 4:22-cr-00109-BSM Document 3 Filed 04/05/22 Page 2 of 3


                                              COUNT3

        Between, on or about August 17, 2021 and on or about October 10, 2021 , in the Eastern

District of Arkansas, the defendant, DEANDREIAN DEVONTE MEADOWS , a/k/a FATHEAD,

who was then under information for a crime punishable by imprisonment for a term exceeding one

year, to wit: Fleeing, did willfully receive a firearm, that is a Romarm/Cugir, 7.62 caliber rifle,

bearing serial number 21PF-8553 , said firearm having been shipped and transported in interstate

commerce, in violation of Title 18, United States Code, Sections 922(n) and 924( a)(l )(D).

                                 FORFEITURE ALLEGATION 1

        Upon conviction of Count 1 of this Indictment, the defendant, DEANDREIAN

DEVONTE MEADOWS, a/k/a FATHEAD, shall forfeit to the United States, under Title 21,

United States Code, Section 853(a)(l), all property constituting, or derived from, any proceeds

the person obtained, directly or indirectly, as a result of the offense, including, but not limited to,

the following specific property: a Romarm/Cugir, 7.62 caliber rifle, bearing serial number 21PF-

8553 , and an Anderson, AR-15 , bearing serial number 21001398.

                                FORFEITURE ALLEGATION 2

        Upon conviction of Count 1 of this Indictment, the defendant, DEANDREIAN

DEVONTE MEADOWS, a/k/a FATHEAD, shall forfeit to the United States, under Title 21,

United States Code, Section 853(a)(2), all of the person' s property used or intended to be used,

in any manner or part, to commit, or to facilitate the commission of the offense, including, but

not limited to, the following specific property : a Romarm/Cugir, 7.62 caliber rifle, bearing serial

number 21PF-8553, and an Anderson, AR-15, bearing serial number 21001398.

                                FORFEITURE ALLEGATION 3

       Upon conviction of Count 1, 2 or 3 of this Indictment, the defendant, DEANDREIAN

DEVONTE MEADOWS , a/k/a FATHEAD, shall forfeit to the United States, under Title 18,


                                                      2
            Case 4:22-cr-00109-BSM Document 3 Filed 04/05/22 Page 3 of 3


United States Code, Section 924(d), Title 21, United States Code, Section 853, and Title 28,

United States Code, Section 2461 (c), all firearms and ammunition involved in the commission of

the offense, including, but not limited to, the following specific property: a Romarm/Cugir, 7.62

caliber rifle, bearing serial number 21PF-8553, and an Anderson, AR-15, bearing serial number

21001398.




                                                   3
